 8:17-cr-00372-RFR-MDN                 Doc # 41    Filed: 01/03/18        Page 1 of 1 - Page ID # 87



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                          8:17CR372

        vs.
                                                                               ORDER
WARREN DWAYNE COPELAND,

                         Defendant.


        This matter is before the court on defendant's AMENDED MOTION FOR EXTENSION OF
TIME TO FILE PRETRIAL MOTIONS [40]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 23-day extension. Pretrial Motions shall be filed by
February 2, 2018.


        IT IS ORDERED:
        1.        Defendant's AMENDED MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL
MOTIONS [40] is granted. Pretrial motions shall be filed on or before February 2, 2018.
        2.        The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between today’s date and February 2, 2018, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
        3.        Defendant’s Motion for Extension of Time to File Pretrial Motions (Filing No. 39) is
denied as moot.


        Dated this 3rd day of January, 2018.

                                                           BY THE COURT:

                                                           s/ Michael D. Nelson
                                                           United States Magistrate Judge
